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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

   UNITED STATES OF AMERICA                           CRIMINAL ACTION
   VERSUS                                             NO: 07-373
   DAVID D. BRAUNER                                   SECTION: "J”


                                  ORDER

     Before the Court are (1) Defendant’s Motion to Quash Under

Louisiana Code of Criminal Procedure art. 532 (Rec. Doc. 37) and

(2) Defendant’s Motion to Suppress Evidence (Rec. Doc. 38).

                     DEFENDANT’S MOTION TO QUASH

     Defendant’s Motion to Quash is premised on a violation of

LA. CODE OF CRIM. PROC. ANN. art. 532.    However, the Louisiana Code

of Criminal Procedure does not apply in this Court.            Hale v.

United States, 435 F.2d 737, 749 (5th Cir. 1970)(“[T]he criminal

procedure of the state in which the district court is located is

inapplicable.”); see also FED. R. CRIM. P. 1(a)(1)(“These rules

govern the procedure in all criminal proceedings in the United

States district courts.”).      Accordingly, LA. CODE CRIM. PROC. ANN.

art. 532 is inapplicable in this Court.
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                   DEFENDANT’S MOTION TO SUPPRESS

     In a motion to suppress, the defendant bears the burden of

making specific factual allegations of illegality, producing

evidence, and persuading the court that evidence should be

suppressed.   United States v. Evans, 572 F.2d 455, 486 (5th Cir.

1978).   Evidentiary hearings are not granted as a matter of

course, but only when the defendant alleges specific facts which,

if proven, would justify relief.       United States v. Rockwell, No.

07-128, 2007 WL 2122432 (E.D. La. July 19, 2007); United States

v. Smith, 546 F.2d 1275, 1280 (5th Cir. 1977).         The Fifth Circuit

has held that allegations contained in a motion to suppress must

be “sufficiently definite, specific, detailed, and non-

conjectural to enable the court to conclude that a substantial

claim is presented.     If the allegations are sufficient and a

factual question is raised, a hearing is required.”            United

States v. Poe, 462 F.2d 195, 197 (5th Cir. 1972).

     Here, Defendant’s motion is, at best, bare-boned.             The

Defendant cites no case law in support of his position, and his

motion contains no facts or arguments to support the conclusory

allegations made therein.       This Court concludes that an

evidentiary hearing is not warranted at this juncture as the

Defendant has failed to allege specific facts that, if proven,

would justify relief.     Accordingly,
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     IT IS ORDERED that the Motion to Quash Under Article 532

(Rec. Doc. 37) is DENIED;

     IT IS FURTHER ORDERED that the Motion to Suppress the

Evidence (Rec. Doc. 38) is DENIED.

    New Orleans, Louisiana this the 5th day of November, 2007.




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                                        CARL J. BARBIER
                                        UNITED STATES DISTRICT JUDGE




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